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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

   NETLIST, INC.,                  )
                                   )
             Plaintiff,            )
                                   )
                                                  Civil Action No. 2:22-cv-203-JRG
        vs.                        )
                                   )
                                                  JURY TRIAL DEMANDED
   MICRON TECHNOLOGY, INC.; MICRON )
   SEMICONDUCTOR PRODUCTS, INC.; )
   MICRON TECHNOLOGY TEXAS LLC, )
                                   )
             Defendants.           )
                                   )

                                            ORDER

          The Court, having considered Netlist’s Motion to Extend Deadline, any response, and

   supporting documents attached thereto, is of the opinion that said motion should be GRANTED.

          IT IS SO ORDERED.
